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                                    1855 DISTRICT COURT
                    IN THE UNITED STATES
                     FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §             CASE NO. 4:05CR173.10
                                                   §
 JEROME KEITH GRIFFIN                              §


                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for modification of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. The Court has received the report of the United States

 Magistrate Judge pursuant to its order. There being no objections by Defendant, the Court is of the

 opinion that the findings and conclusions of the Magistrate Judge are correct. Therefore, the Court

 hereby adopts the findings and conclusions of the Magistrate Judge as the findings and conclusions
     . Court. It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the
 of the

 opinion of the Court. It is further ORDERED that Defendant’s supervised release is hereby

 REVOKED. It is further ORDERED that Defendant be committed to the custody of the Bureau

 of Prisons to be imprisoned for a term of eighteen (18) months, with no supervised release to follow.

 Defendant’s sentence in this matter shall run prior to any sentence for the more recent state offenses.

        IT IS SO ORDERED.
        SIGNED this 27th day of May, 2009.




                                                           ____________________________________
                                                           MICHAEL H. SCHNEIDER
                                                           UNITED STATES DISTRICT JUDGE
